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                                In regard to the sentencing of Denzel Chisholm.
        This is my plea to Your Honor to serve him the least amount of time at all possible. I realize Denzel
has made some mistakes but the fact is that he is such an amazing part of my family and it is tragic that
he is in prison at this moment. Denzel Chisholm in our world is my son/stepson. I have been dating his
father Kenneth Chisholm since 2002. His father and I were dating on and off throughout Denzel and his
siblings teenage years which hurts me some because maybe I could have had a stronger influence and
been more involved in his life. However the circumstances were, me and his dad have a beautiful 2 year
old son (somewhat late in life). My son Avonnt is Denzels’ youngest sibling. Denzel has always accepted
me and welcomed me into his life. He was a bright young teenager. He was back and forth between the
Cape and Boston (between his mom and his dad) It seems he was on the right path then the wrong path
then the right path then the wrong path.
      No matter what he always had this great aura about him, very lighthearted & always sensitive to
others. He was always willing to do what was asked of him and I never witnessed or even heard of him
being argumentative with either or his parents. He is always very cheerful, currently even with the
circumstances he is in when he calls on the phone from jail. He never wants to put his troubles or
sorrows or stress on anyone else. Maybe to a fault. I think instead of asking for help to find his way at a
younger age he decided to take things into his own hands and take risky chances trying to make money
to provide for his family. For he too like his dad became a parent in his teens; his first children were a set
of three boys; Triplets!
       Denzel wants to parent his children and that’s the most hurt he expresses that he made mistakes
that put him in this position where now he is away from them. He loves his children and has the
potential of being a really amazing parent. I am hoping he gets to do that before they are too grown up
and have had to figure things out for themselves also. This hurts my heart.
       I’ve never heard Denzel blame anyone for anything but almost to a fault because willingly he takes
the blame for others at times too, but at the same time he always takes responsibility for his actions.
He’s a very generous loving young man and I love him to the bottom of my heart. It is a great injustice
that my 2 year old son hasn’t seen him since his 1st birthday party in February of 2016. Denzel is the kid /
young man in the family that makes sure we all get together for the holidays. He is happiest when
everyone is together and happy and he is always just so content when all the family is together spending
time and making memories. Since he has been in jail things are not quite the same at all. There is a
damper on all the things we do as a family since he is missing.
        I don’t know what else to say to express how I feel about the situation except that I know if he has
another chance at life he will do it the right way, having learned a hard and cruel but valuable lesson.
There are so many things he can do with his life. He now has a new reality, a new realization that there
are better ways to provide for his family, ways that will keep him free to be with his kids and family. I
know that he regrets this situation deeply and would go back and do everything different this time
having gone through this situation.
       I beg you Your Honor please give him the lowest possible sentence so that someday soon he can be
home with his children and his family as soon as possible. He has a lot to learn and a lot to change and
that’s an even harder road ahead but he also has so so much to give, as a father a brother and a son.
Please give him this chance. It means so much to our family that he is able to get out of prison while he
is still young and learn how to be a respectable part of society.
                                                                            Aurora G Barnes
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